FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      WINSTON-SALEM DIVISION


 FEDERAL TRADE COMMISSION, STATE
 OF CALIFORNIA, STATE OF COLORADO,
 STATE OF ILLINOIS, STATE OF INDIANA,
 STATE OF IOWA, STATE OF
 MINNESOTA, STATE OF NEBRASKA,
 STATE OF OREGON, STATE OF                           Case No. 1:22-CV-00828-TDS-JEP
 TENNESSEE, STATE OF TEXAS, STATE
 OF WASHINGTON, and STATE OF
 WISCONSIN,                                          CONFIDENTIAL

       Plaintiffs,

 vs.
                                                     DEFENDANTS SYNGENTA CROP
 SYNGENTA CROP PROTECTION AG,                        PROTECTION AG, SYNGENTA
 SYNGENTA CORPORATION,                               CORPORATION, AND SYNGENTA
 SYNGENTA CROP PROTECTION, LLC,                      CROP PROTECTION, LLC’S
 and CORTEVA, INC.,                                  RESPONSE IN OPPOSITION TO
                                                     PLAINTIFFS’ MOTION TO COMPEL
       Defendants.                                   WRITTEN DISCOVERY RESPONSES
                                                     FROM THE SYNGENTA
                                                     DEFENDANTS




Case 1:22-cv-00828-TDS-JEP            Document 329
                                               328    Filed 06/27/25
                                                            06/24/25   Page 1 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


                                            TABLE OF CONTENTS

TABLE OF AUTHORITIES .......................................................................................... iii

PRELIMINARY STATEMENT ..................................................................................... 1

PROCEDURAL AND FACTUAL BACKGROUND .................................................... 1

ARGUMENT ..................................................................................................................... 4

   I.     Legal Standard ...................................................................................................... 4

   II.        Syngenta’s Denials Are Appropriate. ............................................................. 5

              A.         Requests 15–17 Are Factually Inaccurate and Impermissibly
                         Vague and Ambiguous. ........................................................................ 6

              B.         Requests 15–17 Go to Core, Disputed Issues in the Case That
                         Will Be the Subject of Expert Discovery. ......................................... 10

CONCLUSION ............................................................................................................... 11




                                                               ii


Case 1:22-cv-00828-TDS-JEP                          Document 329
                                                             328                 Filed 06/27/25
                                                                                       06/24/25             Page 2 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


                                           TABLE OF AUTHORITIES

Cases

Adventis, Inc. v. Consol. Prop. Holdings, Inc., 124 F. App’x 169 (4th Cir. 2005) ............ 5

Felder v. MGM Nat'l Harbor, LLC, 2024 WL 3690779 (D. Md. Aug. 7, 2024) ............. 11

Hedgepeth v. Nash Cnty., 2023 WL 2711545 (E.D.N.C. Mar. 28, 2023) ...................... 5, 6

In re Transcon. Gas Pipe Line Co., LLC, 2024 WL 4251915 (N.D. Ga.
  Aug. 5, 2024) ................................................................................................................. 11

Jones v. Crum & Forster Specialty Ins. Co., 2023 WL 363745 (E.D.N.C.
  Jan. 23, 2023) .................................................................................................................. 6

Mohammed v. Daniels, 2015 WL 4758968 (E.D.N.C. Aug. 12, 2015) ........................ 9, 10

Polara Eng’g, Inc. v. Campbell Co., 2013 WL 12172122 (C.D. Cal. Oct. 21, 2013) ...... 11

Quicken Loans v. Jolly, 2007 WL 3408551 (E.D. Mich. Nov. 15, 2007) .................. 10, 11

Republic of Turkey v. Christie’s, Inc., 326 F.R.D. 394 (S.D.N.Y. 2018) ......................... 11

Reyes v. Experian Info. Sols., Inc., 2017 WL 11897767 (C.D. Cal. Mar. 13, 2017) .......... 9

Tri-State Hosp. Supply Corp. v. United States, 226 F.R.D. 118 (D.D.C. 2005)............... 11

Tyler v. Lassiter, 2015 WL 1289817 (E.D.N.C. Mar. 20, 2015) ........................................ 5

United Coal Cos. v. Powell Const. Co., 839 F.2d 958 (3d Cir. 1988) .............................. 10

United Sates ex rel. Bergman v. Abbott Lab’ys, 2016 WL 2621669 (E.D. Pa.
  Jan. 15, 2016) ............................................................................................................... 11

Wagner v. Norcold, Inc., 2024 WL 2703015 (E.D.N.C. May 24, 2024) ........................ 5, 6

Watkins v. Lincare, Inc., 2023 WL 5490181 (S.D.W. Va. Aug. 24, 2023) ...................... 10

Rules
Fed. R. Civ. P. 36(a) ................................................................................................... 1, 4, 5

Other Authorities
Wright & Miller, 8B Fed. Prac. & Proc. Civ. § 2252 (3d ed.) ............................................ 5



                                                                 iii


Case 1:22-cv-00828-TDS-JEP                            Document 329
                                                               328                 Filed 06/27/25
                                                                                         06/24/25               Page 3 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


                            PRELIMINARY STATEMENT

       Plaintiffs’ motion to compel is inappropriate and unnecessary. Through its requests

for admission, Plaintiffs ask Syngenta to admit that it calculated “molecular market share”

for three different active ingredients annually for eight fiscal years. Syngenta expressly

denied these requests, as Federal Rule of Civil Procedure 36(a)(4) permits. As Syngenta

has informed Plaintiffs several times, Plaintiffs’ requests are not a proper subject for

admission nor do the facts support Plaintiffs’ demand for an admission in the form

presented. Syngenta does not perform annual calculations of “molecular market share” or

“molecule market share” and does not even regularly use these terms in its crop protection

business. Regardless, this topic is not the proper subject of a request for admission. The

definition of the relevant market, Syngenta’s share of that market, and the methodology

used to calculate the share of such market are all core issues in this case that will be the

subject of expert reports and expert discovery on both sides. Syngenta’s denials are

appropriate, and no further response is required. This Court should accordingly deny

Plaintiffs’ motion to compel.

                 PROCEDURAL AND FACTUAL BACKGROUND

        Plaintiffs served its First Set of Requests for Admission on January 21, 2025 (the

“Requests”). See Dkt. No. 323-2. Among the requests are the three at issue here, Requests

Nos. 15–17 (“Requests 15–17”), which demand as follows:

   •   REQUEST FOR ADMISSION NO. 15: Admit that for each fiscal year from
       2017-2024 Syngenta calculated that it possessed a molecule market share that
       exceeded    for Azoxystrobin.

   •   REQUEST FOR ADMISSION NO. 16: Admit that for each fiscal year from
       2017-2024 Syngenta calculated that it possessed a molecule market share that
       exceeded    for Mesotrione.




Case 1:22-cv-00828-TDS-JEP            Document 329
                                               328       Filed 06/27/25
                                                               06/24/25      Page 4 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


   •   REQUEST FOR ADMISSION NO. 17: Admit that for each fiscal year from
       2017-2024 Syngenta calculated that it possessed a molecule market share that
       exceeded    for Metolachlor.

       Per agreement, Syngenta served its objections on February 20, 2025 and its

substantive responses on March 24, 2025. The parties since have met and conferred

multiple times about Syngenta’s responses and objections to Requests 15–17. On a March

3, 2025 call following Syngenta’s initial objections, Plaintiffs asked whether there was

anything unclear regarding Requests 15–17 that would prevent Syngenta from answering.

Syngenta expressed uncertainty as to documents or other information motivating Requests

15–17 and asked that Plaintiffs share any materials substantiating the factual basis of the

propositions. Plaintiffs responded that “molecule market share” is a term of art used within

Syngenta and committed to follow up with more clarity.

       On March 11, 2025, Plaintiffs sent a letter concerning written discovery, including

Requests 15–17. See Dkt. No. 323-3. The letter cited one Syngenta document in support

of Plaintiffs’ position, an August 2020 slide deck entitled

                                                                  .”    Id. at 5 (citing

SYT_REBATELIT_01814958 at 9); see also Ex. 1 at 9. Plaintiffs referred Syngenta to a

slide entitled,

           ” Id. at 5; Ex. 1 at 9. The slide states,



                           Ex. 1 at 9. The document does not refer to any actual calculations

and does not use the term “molecular market share” or “molecule market share.” Plaintiffs

did not attach this document to their motion to compel.

       On March 24, 2025, Syngenta served its substantive responses to Plaintiffs’ First

Set of Requests for Admission. Dkt. No. 323-4. Unaware of any regular, annual Syngenta

                                               2


Case 1:22-cv-00828-TDS-JEP             Document 329
                                                328       Filed 06/27/25
                                                                06/24/25      Page 5 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


calculations concerning “molecular market share,” let alone ones reflecting the specific

share percentages as to which Plaintiffs sought admissions, Syngenta denied Requests 15–

17, as emphasized below:

   •   RESPONSE TO REQUEST FOR ADMISSION NO. 15: Syngenta objects to
       this Request as vague and ambiguous, particularly as to the term ‘molecule market
       share,’ which is susceptible to multiple meanings and not a term ordinarily used on
       a regular basis by Syngenta. Syngenta further objects to this Request to the extent
       it implies that the term ‘molecule market share’ has any bearing on the relevant
       market in this Action. Syngenta further objects to this Request to the extent it calls
       for information that may be the subject of expert opinion and testimony. Syngenta
       further objects to this Request to the extent it is argumentative, contains inaccurate
       descriptions, lacks foundation, or assumes the existence of facts not in evidence or
       that are incorrect or the occurrence of events that did not happen.

       On the basis of the foregoing General and Specific Objections, Syngenta denies
       this Request.

   •   RESPONSE TO REQUEST FOR ADMISSION NO. 16: Syngenta objects to
       this Request as vague and ambiguous, particularly as to the term ‘molecule market
       share,’ which is susceptible to multiple meanings. Syngenta further objects to this
       Request to the extent it calls for information that may be the subject of expert
       opinion and testimony. Syngenta further objects to this Request to the extent it is
       argumentative, contains inaccurate descriptions, lacks foundation, or assumes the
       existence of facts not in evidence or that are incorrect or the occurrence of events
       that did not happen.

       On the basis of the foregoing General and Specific Objections, Syngenta denies
       this Request.

   •   RESPONSE TO REQUEST FOR ADMISSION NO. 17: Syngenta objects to
       this Request as vague and ambiguous as to the term ‘molecule market share,’ which
       is susceptible to multiple meanings. Syngenta further objects to this Request to the
       extent it is argumentative, contains inaccurate descriptions, lacks foundation, or
       assumes the existence of facts not in evidence or that are incorrect or the occurrence
       of events that did not happen.

       On the basis of the foregoing General and Specific Objections, Syngenta denies
       this Request.

Id. at 21–22 (emphases added).




                                             3


Case 1:22-cv-00828-TDS-JEP            Document 329
                                               328        Filed 06/27/25
                                                                06/24/25      Page 6 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


        On April 4, 2025, Plaintiffs sent another letter. See Dkt. No. 323-5. Plaintiffs

characterized Syngenta’s responses to Requests 15–17 as “improper refusals to admit or

deny RFAs,” seemingly because Syngenta prefaced the phrase “Syngenta denies this

Request” with the phrase “[o]n the basis of the foregoing General and Specific Objections.”

Id. at 3, 5. Plaintiffs also contended that Syngenta uses the phrase “molecule market share”

or “molecular market share” “as a matter of course,” again without providing any examples

of documents using either phrase. Id. at 5.

        Syngenta responded on May 2, 2025. See Dkt. No. 323-6. Syngenta reiterated that

its responses to Requests 15–17 were substantive denials, explaining that the prefatory

phrase “on the basis of the foregoing General and Specific Objections”—common parlance

in written discovery—was intended to communicate the basis for Syngenta’s denials, not

to limit their scope. Id. at 2–3. Syngenta further explained that its denials were appropriate

because, “In a case squarely about market share, where Syngenta does not regularly use

the term ‘molecule market share’ or ‘molecular market share,’ we see no basis to admit

these requests.” Id. at 5.

        On May 11, 2025, the parties met and conferred again and confirmed they were at

impasse with respect to Requests 15–17. On June 10, 2025, Plaintiffs filed the instant

motion to compel.

                                       ARGUMENT

   I.      Legal Standard

        Under Federal Rule of Civil Procedure 36(a)(1)(A), a party may serve another

party with written requests to admit “the truth of any matters within the scope of Rule

26(b)(1) relating to [] facts, the application of law to fact, or opinions about either.” Fed.

R. Civ. P. 36(a)(1)(A). “The purpose of such admissions is to narrow the array of issues

                                              4


Case 1:22-cv-00828-TDS-JEP            Document 329
                                               328         Filed 06/27/25
                                                                 06/24/25      Page 7 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


before the court, and thus expedite both the discovery process and the resolution of the

litigation.” Adventis, Inc. v. Consol. Prop. Holdings, Inc., 124 F. App’x 169, 172 (4th Cir.

2005); see also Wright & Miller, 8B Fed. Prac. & Proc. Civ. § 2252 (3d ed.) (“The rule is

intended to expedite the trial and to relieve the parties of the cost of proving facts that will

not be disputed at trial”).

           “[T]he requesting party bears the burden of setting forth its requests simply,

directly, not vaguely or ambiguously, and in such a manner that they can be answered with

a simple admit or deny without an explanation, and in certain instances, permit a

qualification or explanation for purposes of clarification.” Tyler v. Lassiter, 2015 WL

1289817, at *2 (E.D.N.C. Mar. 20, 2015) (internal quotation marks and citation omitted).

          If a party cannot admit a request for admission, it must either “specifically deny it

or explain in detail why the answering party cannot truthfully admit or deny it.” Fed. R.

Civ. P. 36(a)(4). “A denial is a sufficient response under the rule . . . .” Wagner v. Norcold,

Inc., 2024 WL 2703015, at *11 (E.D.N.C. May 24, 2024); accord Hedgepeth v. Nash Cnty.,

2023 WL 2711545, at *3 (E.D.N.C. Mar. 28, 2023) (stating “Defendants could have simply

denied [the request] because they disagreed with its premise”).

    II.      Syngenta’s Denials Are Appropriate.

          Plaintiffs ask the Court to “order Syngenta to answer Plaintiffs’ requests for

admission” 15 through 17. Dkt. No. 323 at 4. But Syngenta has already answered. Its

responses and objections to Requests 15–17 each state: “Syngenta denies this request.”

Dkt. No. 323-4 at 21–22. And Syngenta made clear during the meet-and-confer process

that its responses were intended as substantive denials under Rule 36(a)(4). E.g., Dkt. No.

323-6 at 5 (noting “Syngenta stands by its denials of RFAs 15–17.”). “A denial is a



                                               5


Case 1:22-cv-00828-TDS-JEP              Document 329
                                                 328        Filed 06/27/25
                                                                  06/24/25       Page 8 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


sufficient response under the rule . . . .” Wagner, 2024 WL 2703015, at *11; accord

Hedgepeth, 2023 WL 2711545, at *3 (stating “Defendants could have simply denied [the

request]”). No further response is required.

       Plaintiffs’ motion effectively seeks to compel Syngenta to change their appropriate

denials of Requests 15–17 into (inaccurate) admissions. But compelling a party to admit

to a proposition is a drastic remedy, reserved for when a “responding party answers a Rule

36 request evasively or in bad faith.” Wagner, 2024 WL 2703015, at *10 (quoting Jones

v. Crum & Forster Specialty Ins. Co., 2023 WL 363745, at *2 (E.D.N.C. Jan. 23, 2023)).

Syngenta has not engaged in this manner, and Plaintiffs do not argue otherwise. Rather,

Syngenta has squarely denied Requests 15–17 with valid cause to do so.

               A.     Requests 15–17 Are Factually Inaccurate and Impermissibly
                      Vague and Ambiguous.

       Requests 15–17 each embed several inaccurate factual propositions. Syngenta

could only admit these Requests if: (1) “molecular market share” or “molecule market

share” were terms of art or were used regularly in the ordinary course of Syngenta’s

business and had a generally accepted meaning; (2) Syngenta consistently calculated

“molecular market share” or “molecule market share” on an annual basis each fiscal year

from 2017–2024 for azoxystrobin, metolachlor, and mesotrione, respectively; and (3) the

ensuing calculations had always exceeded           .   None of these statements is true.

Syngenta accordingly denied Requests 15–17.

       Plaintiffs’ proffered “evidence” does not tell a different story. During the meet-

and-confer process, Plaintiffs failed to identify any instance of Syngenta using the phrase

“molecule market share” or “molecular market share,” let alone that Syngenta had

systematically calculated these figures to be above       for three particular AIs over an


                                               6


Case 1:22-cv-00828-TDS-JEP            Document 329
                                               328       Filed 06/27/25
                                                               06/24/25     Page 9 of 17
Case 1:22-cv-00828-TDS-JEP   Document 329   Filed 06/27/25   Page 10 of 17
Case 1:22-cv-00828-TDS-JEP   Document 329   Filed 06/27/25   Page 11 of 17
Case 1:22-cv-00828-TDS-JEP   Document 329   Filed 06/27/25   Page 12 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


Mohammed v. Daniels, 2015 WL 4758968, at *2 (E.D.N.C. Aug. 12, 2015) (denying a

motion to compel further responses to RFAs because plaintiff’s apparent disagreement with

defendants’ responses was “not a valid basis for objection.”).

               B.      Requests 15–17 Go to Core, Disputed Issues in the Case That
                       Will Be the Subject of Expert Discovery.

        Even if Syngenta had calculated some form of annual “molecular market share” or

“molecule market share” for azoxystrobin, mesotrione, and metolachlor to be in excess of

     each year, as Plaintiffs ask Syngenta to admit in Requests 15–17, Syngenta’s denials

still would be appropriate. How to define the relevant market and calculate the defendant’s

share thereof are core issues in any antitrust case, including this one. As Plaintiffs

rightfully point out, courts often rely on defendants’ ordinary-course market share

calculations to define the relevant market. See Dkt. No. 323 at. 9 (citing cases). But

moreover, there is a dispute among the parties as to whether the active ingredient, the

product, or something else altogether is the proper basis for determining relevant market

share. It is likely that Plaintiffs’ and Syngenta’s experts will consider any market share

estimates in Syngenta’s internal documents during forthcoming expert discovery. Thus,

the relevance of the information underlying Requests 15–17 cuts against Plaintiffs, not for

them.

        “Requests for admission are not a vehicle to establish disputed facts.” Watkins v.

Lincare, Inc., 2023 WL 5490181, at *7 (S.D.W. Va. Aug. 24, 2023). “[W]here, as here,

issues in dispute are requested to be admitted, a denial is a perfectly reasonable response.”

United Coal Cos. v. Powell Const. Co., 839 F.2d 958, 967 (3d Cir. 1988); see also Quicken

Loans v. Jolly, 2007 WL 3408551, at **1–2 (E.D. Mich. Nov. 15, 2007) (“[A] request for

admission as to a central fact in dispute . . . is beyond the proper scope of normal


                                             10


Case 1:22-cv-00828-TDS-JEP            Document 329
                                               328       Filed 06/27/25
                                                               06/24/25      Page 13 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


discovery.”) (collecting cases). Accordingly, courts regularly deny motions to compel

responses to requests for admission that go to core, disputed issues, including where such

issues will be the subject of expert discovery. 3

         Syngenta should not be compelled to admit that it has possessed a “market share”

of over          for three AIs over a period of when that very fact is sharply contested.

Syngenta should be entitled to deny Requests 15–17 and preserve its ability to prove an

issue in dispute in the manner it chooses.


                                             CONCLUSION

         For the above reasons, Plaintiffs’ motion to compel further responses from

Syngenta as to Requests 15–17 should be denied.




    3
       See United States ex rel. Bergman v. Abbott Lab’ys, 2016 WL 2621669, at *4 (E.D. Pa. Jan. 15, 2016)
(declining to compel further response to RFA referring to “non-branded sales aid” because “the definition of
‘non-branded sales aid’ could be an ultimate issue in the case” and given “the significance of the definition,
[the party] ‘should be able to explain its position and not be bullied into an issue it does not want to make.’”)
(quoting Tri-State Hosp. Supply Corp. v. United States, 226 F.R.D. 118, 138 (D.D.C. 2005)); Felder v. MGM
Nat’l Harbor, LLC, 2024 WL 3690779, at *15 (D. Md. Aug. 7, 2024) (declining to compel further response
to RFA seeking admission as to individual’s skin color because “Plaintiff's color -- and whether she was
discriminated based on her skin tone -- is a central issue in dispute” and “Defendant's responses are not
insufficient simply because they refuse to admit facts that are central to Plaintiff's dispute.”) (internal
quotation marks, brackets, and citation omitted); Polara Eng’g, Inc. v. Campbell Co., 2013 WL 12172122,
at *1 (C.D. Cal. Oct. 21, 2013) (denying motion to compel further responses “as to the few RFAs that concern
[Plaintiff’s] allegedly infringed patent, [because] their subject matter is best suited to an expert.”); In re
Transcon. Gas Pipe Line Co., LLC, 2024 WL 4251915, at *2 (N.D. Ga. Aug. 5, 2024) (report and
recommendation adopted) (excusing a party from answering RFAs that “‘seek information as to fundamental
disagreements at the heart of the lawsuit’—the very opposite of identifying matters on which the parties
agree”) (quoting Republic of Turkey v. Christie’s, Inc., 326 F.R.D. 394, 399 (S.D.N.Y. 2018)).


                                                      11


Case 1:22-cv-00828-TDS-JEP                   Document 329
                                                      328             Filed 06/27/25
                                                                            06/24/25          Page 14 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


Dated: June 24, 2025

                                            /s/Patrick M. Kane
                                            Patrick M. Kane
                                            N.C. Bar No. 36861
                                            pkane@foxrothschild.com
                                            Sean T. Placey
                                            N.C. Bar No. 56683
                                            splacey@foxrothschild.com
                                            FOX ROTHSCHILD LLP
                                            230 N. Elm Street, Suite 1200
                                            PO Box 21927 (27420)
                                            Greensboro, NC 27401
                                            Telephone: 336.378.5200
                                            Facsimile: 336.378.5400

                                            Charles S. Duggan*
                                            charles.duggan@davispolk.com
                                            James I. McClammy*
                                            james.mcclammy@davispolk.com
                                            Daniel J. Thomson*
                                            daniel.thomson@davispolk.com
                                            DAVIS POLK & WARDWELL LLP
                                            450 Lexington Avenue
                                            New York, New York 10017
                                            Telephone: 212.450.4292
                                            Facsimile: 212.701.5292

                                            Benjamin M. Miller*
                                            benjamin.miller@davispolk.com
                                            1050 17th Street, NW
                                            Washington, DC 20036
                                            DAVIS POLK & WARDWELL LLP
                                            Telephone: 202.962.7133
                                            Facsimile: 202.962.7196

                                            *Specially appearing under Local Rule
                                            83.1(e)

                                            Attorneys for Syngenta Crop Protection AG,
                                            Syngenta Corporation, and Syngenta Crop
                                            Protection, LLC




                                           12


Case 1:22-cv-00828-TDS-JEP            Document 329
                                               328    Filed 06/27/25
                                                            06/24/25        Page 15 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


                         CERTIFICATE OF WORD COUNT

       I hereby certify that the foregoing brief complies with Local Rule 7.3(d) in that it

contains fewer than 6,250 words, excluding the exempted portions, as reported by word

processing software.

Dated: June 24, 2025

                                                    Respectfully submitted,

                                                    /s/ Patrick M. Kane
                                                    Patrick M. Kane




                                            13


Case 1:22-cv-00828-TDS-JEP            Document 329
                                               328       Filed 06/27/25
                                                               06/24/25      Page 16 of 17
FILED UNDER SEAL PURSUANT TO
LOCAL RULE 5.5 ALTERNATIVE PROPOSAL


                            CERTIFICATE OF SERVICE

       I, Patrick M. Kane, an attorney, certify that on June 24, 2025, I caused to be served

upon counsel of record for Plaintiffs via email the Defendants Syngenta Crop Protection

AG, Syngenta Corporation, and Syngenta Crop Protection, LLC’s Reply Memorandum

Objecting to Plaintiffs’ Motion to Compel Written Discovery Responses.

Dated: June 24, 2025

                                                    Respectfully submitted,

                                                    /s/ Patrick M. Kane
                                                    Patrick M. Kane




                                            14


Case 1:22-cv-00828-TDS-JEP            Document 329
                                               328       Filed 06/27/25
                                                               06/24/25      Page 17 of 17
